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 6

 7                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF WASHINGTON
 8

 9

10   In re:                                       }
                                                  }    Case No: 18-03197-FPC11
11                                                }
     GIGA WATT, INC                               }    APPOINTMENT OF COMMITTEE
12                                                }    OF UNSECURED CREDITORS IN A
                                     Debtor       }    CHAPTER 11 REORGANIZATION CASE
13

14
              The United States Trustee hereby appoints the following creditors of the above-named
15
     debtor to the committee of unsecured creditors.
16
              Brett Woodward, Inc.
17
              307 SW 2nd St.
18            Redmond, OR 97756
              (541) 504-5538
19

20
              Schmitt Electric, Inc.
              1114 Walla Walla Ave.
21            Wenatchee, WA 98801
              (509) 662-3518
22

23
              D A T E D this 19th day of December, 2018.

24                                                     Respectfully submitted,
25
                                                       GREGORY M. GARVIN
26                                                     Acting United States Trustee

27
                                                        /s/ James D. Perkins
28
                                                       JAMES D. PERKINS
                                                       Attorney for United States Trustee




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